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                           BEFORE THE UNITED STATES
                  JUDICIAL PANEL ON MULTIDISTRICT LITIGATION



In Re: SERESTO FLEA AND TICK                       MDL. NO. 3009
COLLAR MARKETING, SALES
PRACTICES AND PRODUCTS
LIABILITY LITIGATION



                                SCHEDULE OF ACTIONS

No.              Case Name               District/Division    Civil Action       Judge
                                                                  No.

1     Rhonda Bomwell and Larry Sites v. District of New      2:21-cv-09479- Hon. Claire C.
      Bayer Healthcare LLC, f/d/b/a       Jersey             CCC            Cecchi
      Bayer Animal Health Division;
      Bayer U.S. LLC, f/d/b/a Bayer
      Animal Health Division; Bayer
      Corp.; Elanco Animal Health, Inc.,
      a/k/a PetBasics; Elanco U.S., Inc.,
      a/k/a PetBasics; and ABC Corps. 1
      – 100

 2    Jennifer Borchek and Lauren        Northern District   1:21-cv-02099- Hon. John R.
      Skurkis v. Bayer Healthcare LLC,   of Illinois         JRB            Blakey
      and Elanco Animal Health, Inc.

3     John Czerniak v. Bayer Healthcare Southern District    9:21-cv-80689- Hon. Donald
      LLC, and Elanco Animal Health,    of Florida           DMM            M.
      Inc.                                                                  Middlebrooks

 4    Darlene Dahlgren v. Bayer          Southern District   1:21-cv-03109- Hon. Analisa
      Healthcare LLC, and Elanco         of New York         AT             Torres
      Animal Health, Inc.

 5    Michaele Dphrepaulezz v. Bayer     Northern District   3:21-cv-02439- Hon. Edward
      Healthcare LLC, and Elanco         of California       EMC            M. Chen
      Animal Health, Inc.

6     Thomas Maiorino v. Bayer           District of New     2:21-cv-07579- Hon. Susan D.
      Corporation, & Elanco Animal       Jersey              SDW-LDW        Wigenton
      Health Inc.




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No.              Case Name                District/Division    Civil Action       Judge
                                                                   No.

 7    Michael McDermott And Christina Eastern District        4:21-cv-00461- Hon. Henry E.
      vs. Elanco Animal Health, Inc., of Missouri             HEA            Autrey
      and Bayer Healthcare, LLC, and
      Bayer Healthcare Animal Health,
      Inc.

8     Amanda Merriman v. Bayer            Northern District   3:21-cv-02227- Hon. Richard
      Healthcare LLC, and Elanco          of California       RS             Seeborg
      Animal Health, Inc.

9     Laura Revolinsky vs. Elanco         District of New     2:21-cv-10003- Hon. Susan D.
      Animal Health Incorporated and      Jersey              SDW-MAH        Wigenton
      Bayer Healthcare LLC

10    Steven Schneider v. Bayer           Central District    2:21-cv-02771- Hon. Virginia
      HealthCare LLC, a Delaware          of California       VAP-KS         A. Phillips
      limited liability company; Elanco
      Animal Health, Inc., a Indiana
      corporation, and DOES 1 through
      100, Inclusive

11    Aitana Vargas and Faye Hemsley      Central District    No. 2:21-cv-    Hon. Virginia
      v. Elanco Animal Health             of California       02506-VAP-      A. Phillips
      Incorporated                                            KS

12    Jennifer Walsh v. Elanco Animal     Southern District   1:21-cv-02929- Hon. Analisa
      Health, Inc.                        of New York         AT             Torres




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